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                             UNITED STATES DISTRICT COURT
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                            CENTRAL DISTRICT OF CALIFORNIA
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10                                                Case No. 2:21-CV-01164-AB (SKx)
      ANTONIO FERNANDEZ,
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12                    Plaintiff,
                                                  ORDER DISMISSING CIVIL
      v.                                          ACTION AND VACATING ALL
13                                                UPCOMING DATES
14    ZONOS FAMILY PROPERTIES,
      LLC, a California Limited Liability
15    Company; SONG ZHE ZHENG; and
      Does 1-10,
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                      Defendants.
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           THE COURT having been advised by counsel that the above-entitled action has
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     been settled;
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           IT IS THEREFORE ORDERED that this action is hereby dismissed without
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     costs and without prejudice to the right, upon good cause shown within sixty (60)
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     days, to re-open the action if settlement is not consummated. This Court retains full
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     jurisdiction over this action and this Order shall not prejudice any party to this action.
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     All hearing, pretrial, and trial dates are VACATED.
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26   Dated: October 12, 2021          ____________________________________
                                      HONORABLE ANDRÉ BIROTTE JR.
27                                    UNITED STATES DISTRICT JUDGE
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